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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                 :
ROSS WILLIAM ULBRICHT                                            :
                                                                 :        19 Civ. 7512 (LGS)
                     - v. -                                      :        S1 14 Cr. 68 (LGS)
                                                                 :
UNITED STATES OF AMERICA                                         :
                                                                 :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          Pursuant to 28 U.S.C. § 1746, I, Timothy T. Howard, declare the following under penalty

of perjury:

          1.        I am an Assistant United States Attorney (“AUSA”) in the United States

Attorney’s Office for the Southern District of New York. I am currently the Co-Chief of the

Office’s Complex Frauds and Cybercrime Unit.                         Former AUSA Serrin Turner and I were

responsible for the prosecution of Ross William Ulbricht through his conviction following a jury

trial.

          2.        I am aware of a recent Vanity Fair article which asserts, in relevant part, that

Ulbricht “was offered a plea deal, which would have likely given him a decade-long sentence.”

(See 19 Civ. 7512, Dkt. 32, Ex. 1.) I hereby attest, based on my personal knowledge, that (1) no

such plea offer was ever extended to Ross William Ulbricht, or conveyed to his then-counsel;

and (2) contrary to petitioner’s recent claim based on this Vanity Fair article, the Government

did not extend “a different, more favorable plea offer to Ulbricht than the pre-indictment offer.”

The only plea offer extended to Ross William Ulbricht was the pre-indictment offer discussed at

the final pretrial conference on December 17, 2014, which would have permitted Ulbricht to

plead guilty to charges carrying a mandatory minimum sentence of ten years and a maximum

sentence of life imprisonment, with a recommended United States Sentencing Guidelines range

of life imprisonment.
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         3.    On April 9, 2021, I spoke by telephone with Serrin Turner, and he confirmed the

accuracy of the statements made above in paragraph 2.

Dated:         April 9, 2021
               New York, New York

                                                  ___________________________
                                                  Timothy T. Howard
                                                  Assistant United States Attorney
                                                  Southern District of New York
